                              NO. 07-10-00077-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL D
                                       
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JULY 20, 2010
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                           STEFAN KLIMAJ, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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             FROM THE COUNTY COURT AT LAW NO. 1 OF LUBBOCK COUNTY;
                                       
           NO. 2008-449,836; HONORABLE LARRY B. "RUSTY" LADD, JUDGE
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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

                             ON MOTION TO DISMISS

Appellant Stefan Klimaj has filed a motion to dismiss his appeal and a document entitled "Withdrawal of Notice of Appeal."  By the latter document, appellant prays for dismissal of his appeal.  Both documents are signed by appellant and his attorney.  Tex. R. App. P. 42.2(a).  
No decision of this court having been delivered to date, we grant the motion to dismiss.  Accordingly, the appeal is dismissed.  No motion for rehearing will be entertained and our mandate will issue forthwith.
								James T. Campbell
									Justice
Do not publish.
